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                              United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION


     MICHAEL IRVIN,                                §
                                                   §
     Plaintiff,                                    §        Civil Action No. 4:23-cv-00131
                                                   §        Judge Mazzant
     v.
                                                   §
     MARRIOTT INTERNATIONAL INC.,                  §
     ET AL.                                        §
                                                   §
     Defendants.                                   §

                                               ORDER

            Pending before the Court is Plaintiff Michael Irvin’s Emergency Motion to Enforce Court

    Order (Dkt. #17). Having considered the motion, the response, the relevant pleadings, and the

    arguments of counsel, the Court finds that the motion should be GRANTED.

.           It is therefore ORDERED that Defendant Marriott International Inc. produce the

    disputed surveillance video evidence sought in Plaintiff’s Request for Production No. 1,

    without modification, by March 10, 2023, at 5:00 p.m.

            IT IS SO ORDERED.

            SIGNED this 10th day of March, 2023.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
